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UN|TED STATES OF AMER|CA,

P|aintiff,
VS. CR. NO. 03-20451-01'8
N|CHOLAS MOF{ROW,

Detendant.

 

OF{DER ON CONT|NUANCE AND SPEC|FY|NG PER|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause was previously calendared for suppression hearing on June 23, 2005.
Counsel for the defendant requested that date be vacated and that the July 5, 2005 trial
date be continued in order to allow for additional preparation in the case.

The Court granted the request and reset the trial date to August 1, 2005 with a

re ort date of Monda Ju| 25 2005 at 9:30 a.m., in Courtroom 1. 11th F|oor of the

 

Federal Building, Memphis, TN.
The period from Ju|y 15, 2005 through August 12, 2005 is excludable under 18
U.S.C. § 3161 (h)(B)(B)(iv) because the ends of justice served in allowing for additional

time to prepare outweigh the need f a speedy tria|.
|T |S SO ORDERED this Z§ da of une, 2005.

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. o NlEL BRElEN \
NlT D sTATEs DlsTFilcT JUDGE

 

This dochsnt entered on the docket sheet in compliance
with Rule 55 andlor 32tbi FFiCrP on “

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 38 in
case 2:03-CR-20451 Was distributed by faX, mail, or direct printing on
June 24, 2005 to the parties listed.

 

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Honorable J. Breen
US DISTRICT COURT

